    Case 9:18-cv-80311-RLR Document 107 Entered on FLSD Docket 07/11/2018 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida

DIAMOND RESORTS INTERNATIONAL, INC., DIAMOND                           )
RESORTS CORPORATION, DIAMOND RESORTS U.S.                              )
COLLECTION DEVELOPMENT, LLC, and DIAMOND                               )
RESORTS MANAGEMENT, INC.,                                              )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                           Civil Action No. 9:18-cv-80311-RLR
                                                                       )
    US CONSUMER ATTORNEYS, P.A., a Florida                             )
 professional corporation, HENRY PORTNER, ESQ.,                        )
     an individual, and ROBERT SUSSMAN, an                             )
                       individual,                                     )
                           Defendant(s)                                )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) HENRY PORTNER, ESQ.
                                           6316 Vireo Court
                                           Lake Worth, Florida 33463




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Alfred J. Bennington, Jr., Esq. and Glennys Ortega Rubin, Esq., Shutts & Bowen LLP,
                                           300 S. Orange Ave., Ste. 1600, Orlando, FL 32801 (Tel. 407-835-6755, Fax
                                           407-849-7255) Emails: bbennington@shutts.com, grubin@shutts.com; Daniel J.
                                           Barsky, Esq., Shutts & Bowen LLP, 200 S. Biscayne Blvd., Ste. 4100, Miami, FL
                                           33131 (Tel. 561-650-8518; Fax 561-822-5527) Email: dbarsky@shutts.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:             07/11/2018
                                                                                          Signature of Clerk or Deputy Clerk



                                                                                                           s/ Randi Marks
    Case 9:18-cv-80311-RLR Document 107 Entered on FLSD Docket 07/11/2018 Page 2 of 2

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                                                       SouthernDistrict
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DIAMOND RESORTS INTERNATIONAL, INC., DIAMOND                            )
RESORTS CORPORATION, DIAMOND RESORTS U.S.                               )
COLLECTION DEVELOPMENT, LLC, and DIAMOND                                )
RESORTS MANAGEMENT, INC.,                                               )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                            Civil Action No. 9:18-cv-80311-RLR
                                                                        )
    US CONSUMER ATTORNEYS, P.A., a Florida                              )
 professional corporation, HENRY PORTNER, ESQ.,                         )
     an individual, and ROBERT SUSSMAN, an                              )
                       individual,                                      )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) ROBERT SUSSMAN
                                           1744 Eldon Court
                                           El Cajon, California 92021




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
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                                                                                CLERK OF COURT


Date:             07/11/2018
                                                                                          Signature of Clerk or Deputy Clerk



                                                                                                           s/ Randi Marks
